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                       EXHIBIT A
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PLEASE TAKE A MOMENT TO REVIEW THIS LOAN AGREEMENT CAREFULLY. YOU WILL BE REQUIRED TO ELECTRONICALLY SIGN
AND DATE IT. YOU WILL ALSO ELECTRONICALLY SIGN AND DATE THE DISBURSEMENT AND PAYMENT CHOICE
AUTHORIZATIONS.

                                                                     Loan # 652102

Agreement Date: 2/20/2020                                     Loan #: 652102
Effective Date: 02/21/2020
Ningodwaaswi, LLC d/b/a Sky Trail Cash                        Name: ANGELA MAVILLE
SkyTrailCash.com                                              Address: 5108 E SEMINOLE ROAD
PO Box 1115                                                   City: FORT PIERCE
Lac du Flambeau, WI 54538                                     State: FL, Zip: 34951
Phone:844.650.5931                                            Phone: REDACTED
                                                              Email Address:        REDACTED


In this Agreement (“Agreement”) the words “we,” “us” and “our” mean Ningodwaaswi, LLC d/b/a Sky Trail Cash, an economic development arm of,
instrumentality of, and a limited liability company wholly­owned and controlled by, the Lac du Flambeau Band of Lake Superior Chippewa Indians
(“Tribe”), and any authorized representative, agent, independent contractor, affiliate or assignee we use in the provision of your loan. “You” and “your”
means the consumer who signs the Agreement electronically. The term “business day” means any calendar day other than a Saturday, Sunday or a bank or
federal holiday, between the hours of 7:00 AM and 6:00 PM Central Time.

This Agreement is governed by the laws of the Tribe.

In order to complete your transaction with us, you must electronically sign and date this Agreement. A loan will not be made until your completed
application is received and approved by us. Once you sign and submit this Agreement, the final approval for credit will be made from our office located on
the Tribe's Reservation. If your information cannot be verified by the Effective Date, your request for credit will not be approved, we will not fund the
loan, and you will not incur any finance charge or fees. If we approve your request, this Agreement will be consummated on the Tribe's Reservation.

                                                        TRUTH IN LENDING DISCLOSURES



 ANNUAL PERCENTAGE RATE                FINANCE CHARGE                        Amount Financed                       Total of Payments

 The cost of your credit as a yearly   The dollar amount the credit will cost The amount of credit provided to     The amount you will have paid after
 rate.                                 you.                                   you or on your behalf.               you have made all payments as
                                                                                                                   scheduled.

 771.24%                               $2,163.85                             $700.00                               $2,863.85


Your Payment Schedule will be:

         Number of Payments                        Amount of Payment                   When Each Payment is Due
                    1                                    $167.82                                03/03/2020
                    2                                    $107.83                                03/10/2020
                    3                                    $107.83                                03/17/2020
                    4                                    $107.83                                03/24/2020
                    5                                    $107.83                                03/31/2020
                    6                                    $107.83                                04/07/2020
                    7                                    $107.83                                04/14/2020
                    8                                    $107.83                                04/21/2020
                    9                                    $107.83                                04/28/2020
                    10                                   $107.83                                05/05/2020
                    11                                   $107.83                                05/12/2020
                    12                                   $107.83                                05/19/2020
                    13                                   $107.83                                05/26/2020
                    14                                   $107.83                                06/02/2020

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     15                   $107.83  2723          06/09/2020
     16                   $107.83                06/16/2020
     17                   $107.83                06/23/2020
     18                   $107.83                06/30/2020
     19                   $107.83                07/07/2020
     20                   $107.83                07/14/2020
     21                   $107.83                07/21/2020
     22                   $107.83                07/28/2020
     23                   $107.83                08/04/2020
     24                   $107.83                08/11/2020
     25                   $107.83                08/18/2020
     26                   $108.11                08/25/2020




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Security: If you decide to authorize automatic payments from your bank account, you are giving a security interest in your Payment Choice
Authorization. If you do not authorize automatic payments from your bank account, you are not giving us a security interest.

Late Charge: If a payment is ten (10) days or more late, you will be charged $20.00 per late scheduled payment.

Prepayment: If you pay off early, you will not have to pay a penalty.

See the terms of the Agreement below for any additional information about nonpayment, default, any repayment in full before the schedule date, and
prepayment refunds and penalties.



ITEMIZATION OF AMOUNT FINANCED:
Amount Financed: $700.00
Amount given to you directly: $700.00

                                                                  SPECIAL NOTICES:

        YOUR LOAN IS AN EXPENSIVE FORM OF BORROWING.
        YOU CAN SAVE FINANCE CHARGES BY PAYING OFF YOUR LOAN EARLY EITHER IN PART OR IN FULL.
        YOUR LOAN IS DESIGNED TO ASSIST YOU IN MEETING YOUR SHORT­TERM CASH NEEDS. IT IS NOT A SOLUTION FOR
        LONGER TERM FINANCIAL PROBLEMS.
        NON­PROFIT CREDIT COUNSELING SERVICES MAY BE AVAILABLE IN YOUR COMMUNITY FOR CONSUMERS
        EXPERIENCING FINANCIAL PROBLEMS.

                                                       PAYMENT DISBURSEMENT OPTIONS

DISBURSEMENT: If your loan is approved, we will process disbursement of your loan proceeds within one (1) business day of the day your loan is
approved. You authorize us to use commercially reasonable efforts to initiate a credit entry by depositing the proceeds of your loan into your Bank
Account as described in your Disbursement Authorization. The date that your loan proceeds are deposited to your Bank Account is the “Disbursement
Date.” Unavoidable delays that occur as a result of bank holidays, the processing schedule of your individual bank, inadvertent processing errors, “acts of
God,” and/or “acts of terror” may extend the time for the deposit and may cause a change in the Disbursement Date and your Annual Percentage Rate
(“APR”) as disclosed herein. In the event that disbursement is delayed, the Disbursement Date will automatically adjust to the actual date of disbursement.

                                                           PAYMENT METHOD OPTIONS

PAYMENTS: You are required to make the payments for each period outlined in the payment schedule above (“Installment Period”) on or before the
payment due dates in the payment schedule (“Payment Due Dates”). If you would like to repay your loan according to a payment plan other than as set
forth herein, you must contact a customer service representative no later than three (3) days prior to your next scheduled Payment Due Date to make those
payment schedule modifications if you would like them in effect for the next Payment Due Date. You will make your payments on or before every
Payment Due Date until you have paid the entire principal and accrued finance charge(s) and any other charges as described in this Agreement. If on the
final scheduled Payment Due Date (“Maturity Date”), you still owe amounts under this Agreement, you will pay those amounts in full on that date. You
may elect to make your payments electronically: by ACH debit or by debit card. You may also elect to make your payments by cashier’s check or money
order and mail your payments to us.

ELECTRONIC PAYMENT: If you elect to make your payments electronically, then your payment plus any Non­Sufficient Funds (“NSF”), Late or
Refused Instrument Charge fees due to us, if applicable, will be debited electronically from your Bank Account on each Payment Due Date as set forth in
your payment schedule (see “PAYMENT CHOICE AUTHORIZATION ” below) through one of the electronic methods described below. You may
revoke your payments by contacting the Customer Service Department at 844.650.5931 or emailing us at CustomerService@SkyTrailCash.com. Please
note: if your scheduled payment has already been submitted to your financial institution at the time of revocation, it may be necessary for us to wait until
that payment posts before we can refund you that payment amount. However, when possible, at the time of revocation, we will void any pending
payment(s). For the purposes of these disclosures, our business days are Monday through Friday, 7:00 AM to 6:00 PM Central Time. Saturdays,
Sundays, and Holidays are not included.

PAYMENTS BY ACH DEBIT: If you elect to pay by ACH debit, then you authorize us, our successors and assigns to initiate automatic debits for
payments from your Bank Account. You agree that we will initiate debit entries on each scheduled payment date or thereafter for the scheduled amount, or
any lesser amount you owe. You authorize us to initiate separate ACH debit entries to your Bank Account identified in the Payment Choice Authorization
for any returned payment and NSF, Late or Refused Instrument Charge fees in the amounts set forth in this Agreement. You agree that we may reinitiate
any ACH up to two (2) additional times for the same amount if an ACH is dishonored. You do not have to authorize payments by ACH debit in order
to receive a loan from us. If you do not want to make payments by ACH debit, please review the other available payment options below.



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Y o u m a y r e v o k e t h i s a u t h o r i z a t i o n b y c o n t a c t i n g t h e C u s2725
                                                                                             tomer Service Department at 844.650.5931 or emailing us at
CustomerService@SkyTrailCash.com not less than three (3) business days prior to your scheduled payment. Please note: if your scheduled payment has
already been submitted to your financial institution at the time of revocation, it may be necessary for us to wait until that payment posts before we can
refund you that payment amount. However, when possible, at the time of revocation, we will void any pending payment(s).

You have the right to receive notice of all transfers that vary in amount. You acknowledge that we elected to offer you a specified range of amounts for the
recurring ACH processing rather than providing you with a notice of transfer for each varying amount. The ACH debit may range from the amount
provided in this Agreement, which may be a scheduled payment amount or less if partial prepayments have been made, to the scheduled payment amount
plus applicable NSF, Late or Refused Instrument Charge fees. We will send you a notice if a charge exceeds this range.

You authorize us to verify any information that you provide to us, including past and current information from whatever source. You agree that the ACH
entries authorized here are voluntary, and that certain entries will recur as defined in this Agreement at substantially regular intervals. If there is any missing
or erroneous information in or with your loan application regarding your Bank Account, then you authorize us to verify and correct the information. If any
payment cannot be obtained by ACH, you remain responsible for such payment and any resulting fees under this Agreement.

Your Bank Account associated with this authorization is listed in the Payment Choice Authorization.

PAYMENT BY DEBIT CARD: If you elect to pay by debit card, you agree that we may initiate debit entries to your debit card on each scheduled
payment date or thereafter for the scheduled amount, or any lesser amount you owe, in three (3) instances: 1) if we cannot process your authorized ACH
debits for any reason other than your revocation of ACH authorization, 2) if you specifically authorize that we debit your debit card identified in this
Agreement, or 3) if you default on a payment.

You authorize us to initiate a separate debit to your debit card for any applicable NSF, Late or Refused Instrument Charge fees set forth in this Agreement.
If the initial debit entries are dishonored, you authorize us to initiate separate debit entries to your debit card for the dishonored amount and any late fees or
NSF fees.

You may revoke this authorization by contacting the Customer Service Department at 844.650.5931 or emailing us at CustomerService@SkyTrailCash.com
not less than three (3) business days prior to your scheduled payment. Please note: if your scheduled payment has already been submitted to your financial
institution at the time of revocation, it may be necessary for us to wait until that payment posts before we can refund you that payment amount. However,
when possible, at the time of revocation, we will void any pending payment(s).

You have the right to receive notice of all transfers that vary in amount. You acknowledge that we elected to offer you a specified range of amounts for the
recurring debit card processing rather than providing you with a notice of transfer for each varying amount. The debit may range from the amount provided
in this Agreement, which may be a scheduled payment amount or less if partial prepayments have been made, to the scheduled payment amount plus
applicable NSF, Late or Refused Instrument Charge fees. We will send you a notice if a charge exceeds this range.

The debit card information you provided is:
Debit Card Number:       REDACTED
Expiration Date: 08/23

PAYMENT BY CASHIER'S CHECK OR MONEY ORDER: If you elect to pay by cashier’s check or money order, then you agree to repay all amounts
due pursuant to this Agreement by mailing your cashier’s checks or money orders to us at Ningodwaaswi, LLC d/b/a Sky Trail Cash, PO Box 1115, Lac du
Flambeau, WI 54538. All mailed payments must reach us by 5:00 PM Central Time on or before the Payment Due Date to ensure timely processing of
your payment.

                                                                   OTHER INFORMATION

PREPAYMENT: You may prepay all or part of the amount you owe us at any time before the Maturity Date without penalty. If you prepay in full, you
must pay the finance charge(s) accrued on your loan and all other amounts due up to the date of the prepayment. If you wish to prepay your loan, then
you must contact a Customer Service Representative at 844.650.5931 to obtain an accurate payoff amount and either provide us with authorization to
effect a debit entry to your Bank Account for the prepayment, or otherwise advise us of your intended method of prepayment. If you prepay all or part of
the principal amount due on your loan, your finance charges on the amount prepaid will be calculated as of the date of your prepayment.

LATE CHARGE: You agree to pay a late charge of $20.00 if a payment is ten (10) days or more late. If you authorized debits from your Bank Account or
debit card in your Payment Choice Authorization, you agree that we may debit your Bank Account or debit card, as applicable, for any late charges.

REFUSED INSTRUMENT CHARGE: If your payment method is stopped, denied or otherwise dishonored, then you agree to pay us a fee of $30.00. If
you authorized debits from either your Bank Account or debit card in your Payment Choice Authorization, you agree that we may debit your Bank
Account or debit card, as applicable, for any Refused Instrument Charge. Your refused instrument may also cause your payment to be late which could
result in your having to also pay a late charge.

YOUR PROMISE TO PAY: You promise to pay us, or any subsequent holder of this Agreement, the Amount Financed and finance charges according to
                                                                                                                                                         Page 4/13
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the payment schedule in the Truth in Lending Disclosures plus all other amounts   owed to us under this Agreement. You agree that your finance charges will
be calculated at the Annual Percentage Rate in the Truth in Lending Disclosures. All payments will be applied first to finance charges and fees and then to
principal. If you prepay all or part of the principal amount due on your loan, your finance charges on the amount prepaid will be calculated as of the date of
your prepayment.

WHEN YOU BEGIN PAYING FINANCE CHARGE(S): You begin to accrue finance charge(s) for the loan on the Disbursement Date. The first
Installment Period on the loan begins on the Disbursement Date and ends on the first Payment Due Date. Thereafter, each Installment Period begins on the
first date following the Payment Due Date and ends on the next Payment Due Date. You will be charged finance charge(s) on the entire Installment Period
beginning on the first day of the Installment Period. In calculating your payments, we have assumed you will make each payment on the day and in the
amount due as outlined within your payment schedule. If any payment is made before the Payment Due Date, the finance charge(s) will be calculated as of
the date of your prepayment, and any over payment will be applied to the amounts owed under this Agreement. Time is of the essence, which means that
there are no grace periods for when payments must be made.

ASSIGNMENT: This Agreement may not be assigned by you. We may assign or transfer this Agreement and our related rights and obligations without
notice to you and your consent is not required if we make such an assignment or transfer.

VERIFICATION: You authorize us to verify the information you provided to us in connection with your loan application. You give us consent to obtain
information about you from consumer reporting agencies or other sources at any time. We reserve the right to withhold funding of this loan, at any time
prior to disbursement, to allow us to verify the information you have provided to us.

CREDIT REPORTING: We may report information about your loan to credit bureaus. Late payments, missed payments, or other defaults on your loan
may be reflected on your credit report.

CANCELLATION: You may cancel your payment obligations under this Agreement, without cost or finance charges, no later than 5:00 PM Central Time
of the second business day immediately following the Disbursement Date (“Cancellation Deadline”). Your right to cancel your loan only applies if your
loan either hasn’t funded or, if it has, the funds are returned to us as explained below. To cancel your payment obligations on this loan, you must inform us
in writing, by or before the Cancellation Deadline, either by email to CustomerService@SkyTrailCash.com or by fax at 855.820.2137 that you want to
cancel the future payment obligations on this loan. If we timely receive your written notice of cancellation on or before the Cancellation Deadline but before
the loan proceeds have been deposited into your Bank Account, then we will not debit your Bank Account and both your and our obligations under this
Agreement will be rescinded. However, if we timely receive your written notice of cancellation on or before the Cancellation Deadline but after the loan
proceeds have been deposited into your Bank Account, then you authorize us to effect a debit to your Bank Account or your debit card as you chose in
your Payment Choice Authorization for the principal amount of this Agreement. If we receive payment of the principal amount via the debit, then both
your and our obligations under this Agreement will be rescinded. If we do not receive payment of the principal amount by debit to your Bank Account or
your debit card, then this Agreement will remain in full force and effect.

DEFAULT: You will be in default under this Agreement if you do not pay us a scheduled payment or any other amounts you owe us when due or your
chosen payment method is stopped, denied or otherwise dishonored. If you default on your loan, we can choose to declare all principal, finance charges and
other amounts that you owe us to be immediately due and payable in full. If you are in default and you authorized debits from your Bank Account, you
agree that we can debit your Bank Account or debit card, as applicable, for the full amount that you owe us. Additionally, if you do not cooperate with us
on repaying your debt to us we may submit your name to a collection agency and we may also report the incident to a consumer reporting agency database.
This may negatively impact your ability to write checks or to receive loans or advances from other companies.

CONSEQUENCES OF DEFAULT: Upon a default by you under this Agreement, we may, at our sole option, take any one or more of the following
actions:

    a)   Agree to permit you to cure a payment default before the loan goes into collection by modifying your Payment Schedule and/or payment amounts
         (a “Cure Arrangement”). This option is not available for all customers and/or all loan products. If we agree to a Cure Arrangement and you fail to
         honor its terms, then we will have the right, at our sole discretion, to terminate the Cure Arrangement and immediately and without notice declare
         the entire unpaid principal balance and all accrued unpaid finance charge(s) and fees immediately due under your loan (“Accelerate Your Loan”);
    b)   Automatically and without further action or notice Accelerate Your Loan and require you to immediately pay us all amounts due and owing
         pursuant to such acceleration;
    c)   If you have elected to repay your loan electronically, we may automatically and without further action or notice withdraw from your designated
         account(s) an amount equal to the amount owed and unpaid as of your last scheduled payment date up to an amount equal to the amount owed if
         we have Accelerated Your Loan; and
    d)   Pursue all legally available means to collect what you owe us.

By electing any one of these options, we do not waive or release our right to subsequently elect and apply any other options to collect the amounts due and
owing to us.

GOVERNING LAW: The laws of the Tribe and applicable federal law will govern this Agreement, without regard to the laws of any state or other

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jurisdiction, including the conflict of laws rules of any state. You agree to be bound by Tribal law, and in the event of a bona fide dispute between you and
us, Tribal law and applicable federal law shall exclusively apply to such dispute.

SOVEREIGN IMMUNITY AND PRESERVATION OF SOVEREIGN IMMUNITY: This Agreement and all related documents are being submitted by
you to us as an economic development arm, instrumentality, and limited liability company of the Tribe. The Tribe is a federally recognized Indian Tribe and
enjoys sovereign immunity. Nothing in this Agreement constitutes a waiver of the Tribe’s sovereign immunity and the Tribe’s immunity is fully preserved
and is not waived either in whole or in part by this Agreement and the Tribe expressly maintains all rights, titles, privileges, and immunities, to which the
Tribe is entitled. To protect and preserve the rights of the parties, no person may assume a waiver of sovereign immunity. No waiver of the Tribe’s
immunity is or can be made except by express written declaration of the Tribe’s Tribal Council specifically authorizing a waiver for the matter in question.
No such waiver has been made with respect to either your Agreement or your Disbursement and Payment Choice Authorization. As set forth below, the
Tribe expressly preserves its sovereign immunity and you may not assert any claims against the Tribe. As an economic development arm and
instrumentality of the Tribe, we are entitled to sovereign immunity to the same extent as the Tribe. To encourage resolution of consumer complaints, a
complaint may be submitted by you or on your behalf pursuant to the Dispute Resolution Procedure and Arbitration Provision below and the complaint is
limited by the Dispute Resolution Procedure and Arbitration Provision.

QUESTIONS OR CONCERNS: If you have questions or concerns and need assistance, please telephone us at 844.650.5931 or at 844.388.0500.

                                          DISBURSEMENT AND PAYMENT CHOICE AUTHORIZATION

DISBURSEMENT AND PAYMENT CHOICE AUTHORIZATION FOR NINGODWAASWI, LLC D/B/A SKY
                                                                              Loan #: 652102
TRAIL CASH
REVIEW VERY CAREFULLY BEFORE EXECUTING THIS DISBURSEMENT AND PAYMENT CHOICE AUTHORIZATION

Your ACH Credit Disbursement Authorization

By electronically signing this Disbursement and Payment Choice Authorization below, you voluntarily authorize us to initiate disbursement credits and
payment debits you have authorized. This Disbursement and Payment Choice Authorization is a part of and relates to the Agreement. The words “you”
and “your” mean the borrower who has electronically signed this Disbursement and Payment Choice Authorization. The words “we,” “us” and “our” mean
Ningodwaaswi, LLC d/b/a Sky Trail Cash and our successors and assigns.

Disbursements to your Bank Account. Unless otherwise agreed, disbursement credits of your loan proceeds will be made to the following bank account
(your “Bank Account”).

Bank Name:                     BANK OF AMERICA, N.A.
Transit ABA Number:            REDACTED

Deposit Account Number:          REDACTED


We will make these disbursement credits by Automated Clearing House (ACH) entries, unless you have requested Expedited Funding Service via wire
transfer.

BY TYPING YOUR NAME AND CLICKING THE “I AGREE” BUTTON BELOW, YOU ARE ELECTRONICALLY SIGNING THIS
DISBURSEMENT AUTHORIZATION AND AGREEING TO ALL THE TERMS OF THIS AUTHORIZATION.

YOU ALSO ACKNOWLEDGE YOUR ABILITY TO DOWNLOAD OR PRINT A FULLY COMPLETED COPY OF THIS DISBURSEMENT
AUTHORIZATION FOR YOUR RECORDS.

    [I AGREE] ANGELA MAVILLE (IP: 73.1.53.80) I agree that Ningodwaaswi, LLC d/b/a Sky Trail Cash and its successors and assigns may
initiate an ACH credit disbursement to my Bank Account.

                                                        PAYMENT CHOICE AUTHORIZATION

Your Payment Choice Authorization (check applicable box)

      Automatic Payment from Your Bank Account.                                                                     Payments You will Make Directly.

 By electronically signing this Payment Choice Authorization below, you voluntarily authorize us to initiate    You agree to make each of your scheduled
 debits you have authorized. This Payment Choice Authorization is a part of and relates to this Agreement.      payments in your payment schedule by
                                                                                                                cashier’s check or money order that we
 You authorize us and our successors and assigns to process payment debit entries out of your Bank Account by   receive no later than 5:00 PM Central Time
 the payment process you have authorized above, such as ACH entries or transactions through your debit card     on or before the Payment Due Date to:
 accessing your Bank Account listed above.
                                                                                                                Ningodwaaswi, LLC d/b/a Sky Trail Cash

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 You specifically authorize us to use this PAYMENT CHOICE to process debit2728 entries from your Bank Account SkyTrailCash.com
 for all payments due under this Agreement in a sum equal to your payment amount due under the Agreement; PO Box 1115
 provided, however, that you preauthorize us to vary the amount of any debit entry on each Payment Due Date Lac du Flambeau, WI 54538
 as needed to adjust a payment due on the loan to reflect: (1) any payment you make; (2) any amounts you still
 owe under this Agreement on the final scheduled Payment Due Date; and, (3) for any late, returned item
 charges, nonsufficient fund fees and other fees imposed under the Agreement.

 If you are in default, you authorize us to process one or more debit entries to pay all principal, finance charges
 and other amounts due to us as provided in the Agreement. You authorize us to reprocess debit entries for the
 same amounts if any attempted payment transaction is dishonored.

 We will provide you with ten (10) days’ notice prior to processing a preauthorized debit entry that varies from
 the scheduled amounts detailed above, unless the variance results from your request and your new authorization
 for us to change the amount of your payments going forward.


IF YOU HAVE CHOSEN TO AUTHORIZE PAYMENT FROM YOUR BANK ACCOUNT, YOU MAY REVOKE YOUR AUTHORIZATION TO
AUTOMATIC PAYMENTS AT ANY TIME BY CONTACTING US DIRECTLY AT 844.650.5931 OR CustomerService@SkyTrailCash.com. Your
revocation must be received no less than three (3) business days prior to your scheduled payment date. Please note: if your scheduled payment has already
been submitted to your financial institution at the time of revocation, it may be necessary for us to wait until that payment posts before we can refund you
that payment amount. However, when possible, at the time of revocation, we will void any pending payment(s). YOU UNDERSTAND THAT
REVOKING YOUR AUTHORIZATION DOES NOT RELIEVE YOU OF THE RESPONSIBILITY OF PAYING ALL AMOUNTS DUE IN FULL
THAT ARE OWED BY YOU UNDER THE LOAN AGREEMENT.

 BY TYPING YOUR NAME AND CLICKING THE “I AGREE” BUTTON BELOW, YOU ARE ELECTRONICALLY SIGNING THIS PAYMENT
 CHOICE AUTHORIZATION AND AGREEING TO ALL THE TERMS OF THIS AUTHORIZATION.

 YOU ALSO ACKNOWLEDGE YOUR ABILITY TO DOWNLOAD OR PRINT A FULLY COMPLETED COPY OF THIS DISBURSEMENT
 AND PAYMENT CHOICE AUTHORIZATION FOR YOUR RECORDS.

    [I AGREE] ANGELA MAVILLE (IP: 73.1.53.80) I agree that Ningodwaaswi, LLC d/b/a Sky Trail Cash and its successors and assigns may initiate
 electronic fund transfer payments from my Bank Account, via the PAYMENT CHOICE. PLEASE NOTE, YOU ARE NOT REQUIRED TO
 AUTHORIZE THIS PAYMENT CHOICE AUTHORIZATION OPTION IN ORDER TO BE APPROVED FOR A LOAN FROM US. YOU MAY
 CHOOSE TO PAY BY CASHIER’S CHECK OR MONEY ORDER BY FOLLOWING THE INSTRUCTIONS IN THE “PAY BY CASHIER’S
 CHECK OR MONEY ORDER” SECTION OF THIS AGREEMENT AND ON THE APPLICATION SCREEN.

 ERROR RESOLUTION NOTICE: In the event (i) you have a question about an electronic transfer or if (ii) you find an error, you must telephone us at
 844.650.5931, email us at CustomerService@SkyTrailCash.com, or contact us by mail at Ningodwaaswi, LLC d/b/a Sky Trail Cash, PO Box 1115, Lac
 du Flambeau, WI 54538. We must hear from you no later than sixty (60) days after the FIRST debit or credit that is the basis of the problem or error. (1)
 Tell us your name and account number (if any); (2) Describe the error or the transfer you are unsure about, and explain as clearly as you can why you
 believe it is an error or why you need more information; and (3) Tell us the dollar amount of the suspected error. If you tell us orally, we may require that
 you send us your complaint or question in writing within ten (10) business days. We will determine whether an error occurred within ten (10) business
 days after we hear from you and will correct any error promptly. If we need more time, however, we may take up to forty­five (45) days to investigate
 your complaint or question. If we decide to do this, we will credit your account within ten (10) business days for the amount you think is in error, so
 that you will have the use of the money during the time it takes us to complete our investigation. If we ask you to put your complaint or question in
 writing and we do not receive it within ten (10) business days, we may not credit your account. For errors involving new accounts, we may take up to
 ninety (90) days to investigate your complaint or question. For new accounts, we may take up to twenty (20) business days to credit your account for
 the amount you think is in error. We will tell you the results within three (3) business days after completing our investigation. If we decide that there was
 no error, we will send you a written explanation. You may ask for copies of the documents that we used in our investigation.

 CONFIDENTIALITY: We will disclose information to third parties about your account or the transfers you make: (1) where it is necessary for
 completing transfers; (2) in order to verify the existence and condition of your account to a third party, such as a credit bureau or merchant; (3) in order
 to comply with a government agency or court orders; or (4) as described in our privacy notice, provided separately.

                                      DISPUTE RESOLUTION PROCEDURE AND ARBITRATION PROVISION

DISPUTE RESOLUTION PROCEDURE: As an accommodation to consumers, we have established the following Dispute Resolution Procedure to
receive, review, and consider any and all types of complaints made by or on behalf of our consumers. A consumer who, in the course of his or her otherwise
lawful and proper use of our business, has concerns about the operation of any part of us or who otherwise believes himself or herself to be aggrieved by
some aspect of any part of our operation shall direct his or her concerns in the first instance to our management, in writing at
CustomerService@SkyTrailCash.com or by mail at P.O. Box 231, Lac du Flambeau, WI 54538. A consumer’s complaint to us shall be considered similar in
nature to a petition for redress submitted to a sovereign government, without waiver of sovereign immunity and exclusive jurisdiction, and does not create
any binding procedural or substantive rights. We will investigate the consumer’s complaint and provide our initial determination as soon as is reasonably
practicable. If the dispute is not resolved to your satisfaction, you and we agree that we shall arbitrate that dispute in accordance with the terms of the

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Arbitration Provision, described below.       2729

ARBITRATION PROVISION: PLEASE READ THE FOLLOWING CAREFULLY AS IT IMPACTS YOUR LEGAL RIGHTS.

WE, AS A WHOLLY OWNED ECONOMIC DEVELOPMENT ARM, INSTRUMENTALITY, AND LIMITED LIABILITY COMPANY OF THE
TRIBE, AND OUR DIRECTORS, OFFICERS, AND EMPLOYEES ACTING WITHIN THE SCOPE OF THEIR AUTHORITY, ARE NOT SUBJECT
TO SUIT IN ANY COURT IN ANY JURISDICTION, OR ANY OTHER FORUM, ABSENT A WAIVER OF SOVEREIGN IMMUNITY. In order to
resolve a dispute that we cannot resolve to your satisfaction as set forth above, we consent to a limited waiver of sovereign immunity as expressly set forth
below, which is expressly limited by the Arbitration Provision in this Agreement. This limited waiver is strictly limited to individual arbitration claims set
forth below and judicial actions to enforce such individual arbitration awards as strictly limited herein.

Definitions: The words “dispute” and “disputes” are given the broadest possible meaning and include, without limitation (a) all claims, disputes, or
controversies arising from or relating directly or indirectly to this Dispute Resolution Procedure and Arbitration Provision (“this Provision”), the validity
and scope of this Provision and any claim or attempt to set aside this Provision; (b) all U.S. federal or state law claims, disputes or controversies, arising
from or relating directly or indirectly to this Agreement, the information you gave us before entering into this Loan Agreement, including the customer
information application, and/or any past Agreement or Agreements between you and us; (c) all counterclaims, cross­claims and third­party claims; (d) all
common law claims, based upon contract, tort, fraud, or other intentional torts; (e) all claims based upon a violation of any state or federal constitution,
statute or regulation; (f) all claims asserted by us against you, including claims for money damages to collect any sum we claim you owe us; (g) all claims
asserted by you individually against the Tribe, us and/or any of our employees, agents, directors, officers, governors, managers, members, parent company
or affiliated entities (collectively, “related third parties”), including claims for money damages and/or equitable or injunctive relief; (h) all claims asserted on
your behalf by another person; (i) all claims asserted by you as a private attorney general, as a representative and member of a class of persons, or in any
other representative capacity, against us and/or related third parties (“Representative Claims”); and/or (j) all claims arising from or relating directly or
indirectly to the disclosure by us or related third parties of any non­public personal information about you.

Notice: Any party to a dispute, including you, us and/or related third parties, may send the other party(s) written notice by certified mail return receipt
requested of their intent to arbitrate and setting forth the subject of the dispute along with the relief requested, even if a lawsuit has been filed. Regardless of
who demands arbitration, the arbitration shall occur before the American Arbitration Association (1­800­778­7879; http://www.adr.org). However, the
parties may mutually agree to select a different arbitrator who is an attorney, retired judge, or arbitrator registered and in good standing with an arbitration
association and arbitrate pursuant to such arbitrator’s rules. The party receiving notice of arbitration shall respond in writing by certified mail return receipt
requested within twenty (20) calendar days. All parties to such dispute will be governed by the rules and procedures of the American Arbitration
Association applicable to consumer disputes, to the extent those rules and procedures do not contradict the express terms of this Agreement or this
Arbitration Provision, including the limitations on the arbitrator below. You may obtain a copy of the rules and procedures by contacting the American
Arbitration Association (1­800­778­7879; http://www.adr.org).

Regardless of who demands arbitration, we will advance your portion of the expenses associated with the arbitration, including the filing, administrative,
hearing and arbitrator’s fees (“Arbitration Fees”). Throughout the arbitration, each party shall bear his or her own attorneys’ fees and expenses, such as
witness and expert witness fees. The arbitrator shall apply applicable substantive law consistent with the Governing Law set forth above, and the Federal
Arbitration Act, 9 U.S.C. §§1­16 (“FAA”) and applicable statutes of limitation, and shall honor claims of privilege recognized at law. The arbitration hearing
will be conducted in the county of your residence, unless you agree to a different location. In conducting the arbitration proceeding, the arbitrator shall not
apply any federal or state rules of civil procedure or evidence. If the arbitrator renders a decision or an award in your favor resolving the dispute, the
arbitrator shall award you reasonable attorneys’ fees. If the arbitrator renders a decision or an award in your favor resolving the dispute then you will not be
responsible for reimbursing us for your portion of the Arbitration Fees and we will reimburse you for any Arbitration Fees you have previously paid.
Regardless of whether the arbitrator renders a decision or an award in your favor resolving the dispute, you will not be responsible for reimbursing us for
your portion of the Arbitration Fees and we are not entitled to an award of attorneys’ fees. At the timely request of any party, the arbitrator shall provide a
written explanation for the award. The arbitrator’s award may be filed with any court having competent jurisdiction.

You and we expressly acknowledge and agree that this Arbitration Provision is made pursuant to a transaction involving interstate commerce and shall be
governed by the FAA.

This Arbitration Provision is binding upon and benefits you, your respective heirs, successors and assigns. This Arbitration Provision is binding upon and
benefits us, our successors and assigns, and related third parties. This Arbitration Provision survives the termination of the relationship between you and
us, and continues in full force and effect, even if your obligations have been cancelled by prepayment, paid or discharged through bankruptcy. This
Arbitration Provision survives any termination, amendment, expiration or performance of any transaction between you and us and continues in full force
and effect unless you and we otherwise agree in writing. You hereby acknowledge and expressly agree to the following by executing this Agreement,
submitting it to us, and accepting the loan proceeds without cancelling your Loan:

YOU AGREE TO THE TERMS OF THIS ARBITRATION PROVISION AND YOU HEREBY AGREE AND ACKNOWLEDGE THAT YOU ARE
WAIVING YOUR RIGHT TO HAVE A COURT RESOLVE ANY DISPUTE ALLEGED AGAINST US OR RELATED THIRD PARTIES.

WAIVER OF JURY TRIAL: BY AGREEING TO THE TERMS OF THIS ARBITRATION PROVISION, YOU HEREBY AGREE AND
ACKNOWLEDGE THAT YOU ARE WAIVING YOUR RIGHT TO HAVE A TRIAL BY JURY TO RESOLVE ANY DISPUTE ALLEGED

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AGAINST US OR AGAINST A RELATED THIRD PARTY. 2730

CLASS­ACTION/REPRESENTATIVE WAIVER: BY AGREEING TO THE TERMS OF THIS ARBITRATION PROVISION, YOU HEREBY
AGREE AND ACKNOWLEDGE THAT YOU ARE WAIVING YOUR RIGHT TO PURSUE OR PARTICIPATE IN REPRESENTATIVE CLAIMS
AND YOU THEREFORE WILL NOT BE ALLOWED TO SERVE AS A REPRESENTATIVE, AS A PRIVATE ATTORNEY GENERAL, OR IN
ANY OTHER REPRESENTATIVE CAPACITY, AND/OR TO PARTICIPATE AS A MEMBER OF A CLASS OF CLAIMANTS, IN ANY
LAWSUIT FILED AGAINST US AND/OR RELATED THIRD PARTIES. THEREFORE, THE ARBITRATOR SHALL NOT CONDUCT CLASS
ARBITRATION; THAT IS, THE ARBITRATOR SHALL NOT ALLOW YOU TO SERVE AS A REPRESENTATIVE, AS A PRIVATE
ATTORNEY GENERAL, OR IN ANY OTHER REPRESENTATIVE CAPACITY FOR OTHERS IN THE ARBITRATION.

By electronically signing this Agreement, you hereby acknowledge that you have read the Agreement in its entirety, that you have carefully reviewed all of
the terms and provisions contained in this Agreement, that you fully understand and comprehend the meaning of each and every word, phrase and provision
contained in this Agreement and that you hereby agree to abide by and be bound by all of the terms and provisions in this Agreement, including the terms
and provisions of this Agreement dealing with the limited waiver of sovereign immunity and the ARBITRATION PROVISION.

                                                CONSENT TO ELECTRONIC COMMUNICATIONS

          The following terms and conditions govern electronic communications in connection with this Agreement and the transaction evidenced hereby
          (this “Consent”). By electronically signing this Agreement by clicking the “I AGREE” button and entering your name below, you are confirming
          that you have agreed to the terms and conditions of this Consent and that you have the ability to download or print a copy of this Consent for
          your records. You further agree that:

          Any disclosure, notice, record or other type of information that is provided to you in connection with your transaction with us, including but not
          limited to, this Agreement, this Consent, disclosures, change­in­term notices, fee and transaction information, statements, delayed disbursement
          letters, notices of adverse action, and transaction information (collectively, “Communications”), may be sent to you electronically by sending it
          to you by e­mail as permitted by applicable law.

          We will not be obligated to provide any Communication to you in paper form unless you specifically request us to do so.

          You may obtain a copy of any Communication by contacting us at CustomerService@SkyTrailCash.com or by calling us at 844.650.5931. You
          will not be charged a fee for such copy. You also can withdraw your consent to ongoing electronic communications in the same manner, and ask
          that they be sent to you in paper or non­electronic form. If you choose to receive Communications in paper or non­electronic form, we may elect
          to terminate this Agreement and demand payment of the amount then due by the date of your withdrawal of consent; or by the expiration of any
          minimum term mandated by law, whichever is later.

          You agree to provide us with your current e­mail address for notices at the address or phone number indicated above. If your e­mail address
          changes, you must send us a notice of the new address by writing to us or sending us an e­mail, using secure messaging, at least five (5) days
          before the change.

          In order to receive electronic communications in connection with this transaction, you will need a working connection to the Internet. Your
          browser must support the Secure Sockets Layer (SSL) protocol. SSL provides a secure channel to send and receive data over the Internet.
          Microsoft Internet Explorer 6 or equivalent browser and above supports this feature. You will also need either a printer connected to your
          computer to print disclosures/notices or sufficient hard drive space available to save the information (e.g., 1 megabyte or more). You must have
          your own Internet service provider. We may amend (add to, delete or change) the terms of this Consent to electronic communication by providing
          you with advance notice.

                                     CONSENT TO RECEIVE TELEPHONE CALLS AND TEXT MESSAGES

          CONSENT TO TELEPHONE CALLS AND TEXT MESSAGES. By electronically signing this Agreement by clicking the “I AGREE” button
          and entering your name below, you consent to receiving calls and Text Messages pertaining to your loan, including but not limited to, payment
          information, account information, due dates, delinquencies, program updates relating to your loan, and collection efforts, at any phone number
          you have provided to us, our assignee(s), or anyone trying to collect the loan. You consent to calls and text messages using an automatic
          telephone dialing system or an artificial or prerecorded voice.

          How To Unsubscribe: You may withdraw your consent to receive Text Messages by texting “STOP” to the message you receive, calling us at
          844.650.5931 or emailing us at CustomerService@SkyTrailCash.com. You may withdraw your consent to receive telephone calls using an
          automatic telephone dialing system or an artificial or prerecorded voice by calling us at 844.650.5931 or emailing us at
          CustomerService@SkyTrailCash.com. At our option, we may treat your provision of an invalid mobile phone number, or the subsequent
          malfunction of a previously valid mobile phone number, as a withdrawal of your consent to receive calls or Text Messages. We will not impose
          any fee upon you to process the withdrawal of your consent to receive calls or Text Messages. Any withdrawal of your consent to receive calls
          or use Text Messages will be effective only after we have a reasonable period of time to process your withdrawal.

          In order to access, view, and retain Text Messages that we make available to you, you must have: (1) a Text Message capable mobile phone, (2)
          an active mobile phone account with a communication service provider; and (3) sufficient storage capacity on your mobile phone.


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         To request additional information, text “HELP” to the message you receive or contact us by telephone at 844.650.5931.

         The services are available from most of the carriers that offer Text Messaging. Consult your mobile service carrier to confirm that they offer Text
         Messaging.

         There is no service fee for Text Messages but you are responsible for all charges imposed by your communications service provider, such as fees
         associated with Text Messaging. Consult your mobile service carrier’s pricing plan to determine the charges for sending and receiving Text
         Messages. These charges will appear on your phone bill. Message frequency depends on account settings.

         You agree that we may send any Text Messages related to your loan through your communication service provider in order to deliver them to
         you and that your communication service provider is acting as your agent in this capacity. You agree to indemnify, defend, and hold us harmless
         from and against all claims, losses, liability, costs, and expenses (including reasonable attorneys’ fees) arising from your provision of a mobile
         phone number that is not your own or your violation of applicable federal, state, or local law, or regulation or ordinance relating to Text
         Messages. Your obligation under this paragraph shall survive termination of this Agreement. You agree that Text Messages are provided for your
         convenience only.

         Receipt of each Text Message may be delayed or impacted by factors pertaining to your communications service provider. We will not be liable
         for losses or damages arising from any disclosure of account information to third parties, nondelivery, delayed delivery, misdirected delivery or
         mishandling of, or inaccurate content in, the Text Messages sent by us.

         We may modify or terminate our Text Messaging services from time to time, for any reason, with or without notice, and without liability to you,
         any other user or third party.

               CONSENT TO RECEIVE ADVERTISING OR TELEMARKETING TEXT MESSAGES AND TELEPHONE CALLS

       By signing this section, you consent to our sending you Advertising and Telemarketing Text Messages to the mobile phone number you have
       provided below. You also consent to our making advertising or telemarketing calls to you at your mobile phone number using automatic telephone
       dialing system or an artificial or prerecorded voice calls or texts.

       ANGELA MAVILLE (IP: 73.1.53.80) Signing this section will be deemed to be your signature acknowledging your consent to receive Advertising
       and Telemarketing Text Messages and telephone calls as described above to your mobile phone at REDACTED                       .

       You are not required to consent to Advertising or Telemarketing Text Messages or calls to obtain credit or other services from us. At any time,
       you may withdraw your consent to receive Advertising or Telemarketing Text Messages or marketing calls to the mobile number provided by
       calling us at 844.650.5931 or emailing us at CustomerService@SkyTrailCash.com.

       You understand that: any Advertising and Telemarketing Text Messages we send you may be accessed by anyone with access to your Text
       Messages; and your mobile phone service provider may charge you fees for Advertising and Telemarketing Text Messages that we send you, and
       you agree that we shall have no liability for the cost of any Advertising and Telemarketing Text Messages.


                                            COVERED BORROWER IDENTIFICATION STATEMENT

Important protections are provided to active duty members of the Armed Forces and their dependents. We require you to select and electronically sign
ONE of the following statements as applicable:

           I AM a regular or reserve member of the Army, Navy, Marine Corps, Air Force or Coast Guard, serving on full­time active duty or under a call
           or order that does not specify a period of thirty (30) days or fewer, or such member serving on Active National Guard or Reserve duty.
           I AM a dependent of a member of the Armed Forces on active duty as described above.
           ­­OR­­
           I AM NOT a regular or reserve member of the Army, Navy, Marine Corps, Air Force or Coast Guard, serving on active duty under a call or
           order that does not specify a period of thirty (30) days or fewer (or a dependent of such a member).


                                    SIGNATURE AND ACCEPTANCE OF ALL TERMS AND CONDITIONS

BY ENTERING YOUR NAME AND CLICKING THE “I AGREE” BUTTON BELOW, YOU ARE ELECTRONICALLY SIGNING THIS LOAN
AGREEMENT AND AGREEING TO ALL THE TERMS OF THIS LOAN AGREEMENT INCLUDING:

     THE DISPUTE RESOLUTION PROCEDURE AND ARBITRATION PROVISION
     THE CONSENT TO ELECTRONIC COMMUNICATIONS
     THE CONSENT TO RECEIVE TELEPHONE CALLS AND TEXT MESSAGES
     THE COVERED BORROWER IDENTIFICATION STATEMENT

YOU ALSO ACKNOWLEDGE YOUR ABILITY TO DOWNLOAD OR PRINT A FULLY COMPLETED COPY OF THIS LOAN AGREEMENT

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FOR YOUR RECORDS.                          2732

  [I AGREE]
DATE: 2/20/2020
ANGELA MAVILLE (IP: 73.1.53.80)




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                                                                                             PRIVACY POLICY
                                                                                                                Rev. May 2018

FACTS WHAT DOES NINGODWAASWI, LLC D/B/A SKY TRAIL CASH DO WITH YOUR PERSONAL INFORMATION?
        Financial companies choose how they share your personal information. Consumers have the right to limit some but
Why? not all sharing. This notice tells you how we collect, share, and protect your personal information. Please read this
      notice carefully to understand what we do.
      The types of personal information we collect and share depend on the product or service you have with us. This
      information can include:
What? Social Security number and checking account information;
       Payment history and income; and
       Employment information and wire transfer instructions.
How? All financial companies need to share customers’ personal information to run their everyday business. In the
      section below, we list the reasons financial companies can share their customers’ personal information; the reason
      Ningodwaaswi, LLC d/b/a Sky Trail Cash chooses to share; and whether you can limit this sharing.

                                                                          Does Ningodwaaswi,
                                                                                                          Can you limit
Reasons we can share your personal information                            LLC d/b/a Sky Trail
                                                                                                          this sharing?
                                                                          Cash share?
For our everyday business purposes ­ such as to process your
transactions, maintain your account(s), respond to court orders and legal YES                             NO
investigations, or report to credit bureaus
For our marketing purposes to offer our products and services to you      YES                             NO
                                                                                                          WE DO NOT
For joint marketing with other financial companies                        NO
                                                                                                          SHARE
For our affiliates’ everyday business purposes–information about your
                                                                          YES                             NO
transactions and experiences
For our affiliates’ everyday business purposes–information about your
                                                                          YES                             YES
creditworthiness
For our affiliates to market to you                                       YES                             YES
For nonaffiliates to market to you                                        YES                             YES

                • Call 844.650.5931 or
                • Contact us via email at CustomerService@SkyTrailCash.com
To limit our    Please note:
sharing         If you are a new customer, we can begin sharing your information thirty (30) days from the date we sent this
                notice. When you are no longer our customer, we can share your information as described in this notice.
                However, you can contact us at any time to limit our sharing.
Questions? Call 844.650.5931 or go to SkyTrailCash.com




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Who we are:
                                          Ningodwaaswi, LLC d/b/a Sky Trail Cash, business entity of the Lac du
Who is providing this notice?
                                          Flambeau Indian Community, is providing this privacy policy.
What we do:
How does Ningodwaaswi, LLC d/b/a Sky      To protect your personal information from unauthorized access and use, we use
Trail Cash protect my personal            security measures. These measures include computer safeguards and secured
information?                              files and buildings.
How does Ningodwaaswi, LLC d/b/a Sky      We collect your personal information, for example, when you:
Trail Cash collect my personal            Apply for a loan;
information?                              Give us your income information;
                                          Tell us where to send the money;
                                          Provide account information;
                                          Provide employment information; and
                                          We also collect your personal information from others, such as credit bureaus,
                                          affiliates or other companies.
Why can't I limit all sharing?            You have the right to limit only:
                                          Sharing for affiliates’ everyday business purposes information about your
                                          creditworthiness;
                                          Affiliates from using your information to market to you; and
                                          Sharing for nonaffiliates to market to you.
What happens when I limit sharing for an Your choices will apply to everyone on your account.
account I hold jointly with someone else?

Definitions:
                Companies related by common ownership or control. They can be financial and nonfinancial companies.
Affiliates
                Our affiliates include other business entities of the Lac du Flambeau Indian Community.
Nonaffiliates   Companies not related by common ownership or control. They can be financial and nonfinancial companies.
                Nonaffiliates we share with can include service providers and data processors.
Joint           A formal agreement between nonaffiliated financial companies that together market financial products or
marketing       services to you.
                Ningodwaaswi, LLC d/b/a Sky Trail Cash does not jointly market.




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